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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            DAYTON DIVISION




STATE OF ARIZONA, et al.

       Plaintiffs,

v.                                         Case No. 3:21cv00314
                                           The Honorable Michael J. Newman
JOSEPH R. BIDEN, et al.

       Defendants.



                 DEFENDANTS’ REPLY BRIEF IN SUPPORT OF
     MOTION TO DISMISS OR, IN THE ALTERNATIVE, FOR JUDGMENT ON THE
                        ADMINISTRATIVE RECORD




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                                            SUMMARY

       Pages 1-4: In the September Guidance, the Secretary of Homeland Security directed his

subordinates to focus enforcement efforts on threats to national security, threats to public safety,

and threats to border security. He identified a number of factors that officers should account for

when making case-by-case, individualized enforcement decisions based on the totality of the facts

and circumstances. He reiterated the Department’s continued commitment to enforcing

immigration laws and emphasized that his guidance does not preclude or require any specific

enforcement action, but instead leaves discretion to line officers’ considered judgment. The

Secretary’s guidance follows in a long line of similar guidance over the past decades, including

during the previous Administration, and is consistent with the Secretary’s explicit statutory

authority to “establish national immigration enforcement policies and priorities.” 6 U.S.C.

§ 202(5). The States’ characterization of this commonsense guidance as wholly novel and out of

step with past practice badly misses the mark.

       Pages 5-6: The September Guidance is entirely consistent with the Immigration and

Nationality Act (“INA”). Even assuming that 8 U.S.C. § 1226(c) and § 1231(a)(1) do create certain

judicially enforceable mandates, the guidance would not violate them. The Secretary was explicit

that his guidance does not prohibit any enforcement action, but rather leaves decisions to the

individual discretion of line officers, based on the totality of the circumstances. Congress expressly

charged the Secretary with setting enforcement priorities, and he has done so.

       Pages 6-9: Neither § 1226(c) nor § 1231(a)(1) creates any judicially enforceable mandates

in any event. The word “shall,” as used in those provisions, does not impose an enforceable

mandate. The Supreme Court has rejected such simplistic reasoning repeatedly, and has

emphasized that, especially in the context of a statute relating to law enforcement, a bare statutory

“shall” does not displace the prosecutorial discretion inherent to the exercise of executive power.

See Town of Castle Rock v. Gonzales, 545 U.S. 748 (2005). The concerns motivating that doctrine

are especially heightened in the context of immigration enforcement, which touches on a broader

range of concerns, such as foreign policy, than even ordinary law enforcement. See, e.g., Reno v.

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American-Arab Discrimination Comm. (“AADC”), 525 U.S. 471, 490 (1999); see also Jama v.

ICE, 543 U.S. 335, 348 (2005). Cases that have described the statutes in mandatory terms have

arisen in entirely different contexts, and indeed in Preap, for example, the Supreme Court

expressly rejected the argument that § 1226(c) imposed a judicially enforceable mandate on the

Executive. Nielsen v. Preap, 139 S. Ct. 954, 969 n.6 (2019).

        Pages 9-11: The setting of enforcement priorities is an area traditionally committed to an

agency’s discretion—it requires the balancing of numerous practical and policy-related factors and

is uniquely unsuited to judicial review. Such decisions are presumptively unreviewable. Heckler

v. Chaney, 470 U.S. 821, 832 (1985). Here, Congress expressly assigned the Secretary authority

to establish priorities without cabining his discretion. See 6 U.S.C. § 202(5). The States’ reliance

on cases where courts found sufficient standards to evaluate the agency’s action have no bearing

here, as they did not arise in the enforcement context and involved explicit statutory language that

provided meaningful standards for review. Nor is the States’ characterization of the September

Guidance as an abdication of statutory duty remotely persuasive. The September Guidance offers

guidelines for line officers in the exercise of their enforcement discretion; it in no way prohibits

enforcement but instead directs it toward the agency’s priorities.

        Pages 11-13: The September Guidance is not “final agency action” reviewable under the

APA because it does not affect “rights and obligations.” The September Guidance expressly leaves

individual enforcement decisions to line officers’ discretion based on the totality of the

circumstances. Cf. Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 717 (D.C.

Cir. 2015). In addition, the guidance is explicit that it does not create rights or obligations. The

agency’s characterization of its own action is entitled to weight, and is a strong indication that the

enforcement guidance is not final agency action. Cf. Michigan v. Thomas, 805 F.2d 176, 187 (6th

Cir. 1986). The States themselves concede that any obligations they incur arise only when later

action is taken, but it is well established that “[a]n agency action is not final if it does not of itself

adversely affect complainant but only affects his rights adversely on the contingency of future



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administrative action.” Jama v. DHS, 760 F.3d 490, 496 (6th Cir. 2014); see also Parsons v. DOJ,

878 F.3d 162, 168 (6th Cir. 2017).

       Pages 13-17: Whether judicial review under the APA is barred under 5 U.S.C. § 701(a)(1)

requires consideration not only of specific statutory provisions but also statutory context and the

statutory structure as a whole. See Block v. Cmty. Nutrition Inst., 467 U.S. 340, 345 (1984). In

Block, as here, Congress had established a specific review scheme that permitted certain actions

to be challenged by certain plaintiffs. And, again as here, that specific and reticulated review

scheme precluded review under the APA. None of the stronger presumptions in favor of judicial

review—as arise in the context of habeas or constitutional challenges—applies here. The States

entirely fail to engage with this doctrinal analysis, preferring to focus only on the scope of specific

statutory provisions.

       The States’ arguments with respect to the specific statutory provisions are misplaced. First,

the Supreme Court has indicated that § 1252(b)(9) would preclude suits, like this one, that

challenge “the process by which . . . removability will be determined.” Dep’t of Homeland Sec. v.

Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907 (2020) (omission in original, citation omitted).

Second, § 1226(e) bars review of the Executive’s “discretionary judgment regarding the

application of” § 1226. That provision contains no exception for APA challenges. See, e.g., Preap,

139 S. Ct. at 974-75 (Thomas, J., concurring in part). Third, the States’ attempt to limit the term

“any party” in § 1231(h) to only certain parties is entirely atextual and inconsistent with the Sixth

Circuit’s analysis of substantively identical language in other contexts. Michigan, 805 F.2d at 187.

Section 1231(h) clearly indicates Congress’s intent that § 1231 not be enforced against the

Executive.

       Pages 17-22: The States fail to establish standing. They cannot show that they have been

injured by the September Guidance. The States fail to show that DHS’s policy of prioritizing public

safety threats imposes more costs on them than a contrary policy that does not prioritize public

safety threats. They do not show that those whose removal or arrest is deferred under the guidance

will use more state resources than those whose removal or arrest is prioritized. The States’ reliance

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on “quasi-sovereign” interests is misplaced, see Kentucky v. Biden, No. 21-6147, 2022 WL 43178,

at *8-9 (6th Cir. Jan. 5, 2022), because the States have no legitimate interest in regulating

immigration enforcement, see Arizona v. United States, 567 U.S. 387, 401-02 (2012).

       Nor do the States show that, to the extent that they have been injured, a court order vacating

the September Guidance would redress that harm. Indeed, the States concede that they are content

with the Department continuing to “exercis[e] basic judgment in line with these priorities, as the

agency has done for years,” so long as the agency also “[m]erely acknowledge[es] that Congress

created mandatory priorities.” Combined Reply in Supp. of Prelim. Inj. and Mem. Opposing

Dismissal at 44, ECF No. 34, PAGEID 914 (“Pls.’ Opp.”). Such relief cannot redress any injury

the States allege.

       Pages 22-25: Agency action may be set aside as pretextual only if the agency’s stated

reasons for acting as it did are wholly contrived. Dep’t of Com. v. New York, 139 S. Ct. 2551, 2571

(2019). The States utterly fail to meet this standard, failing even to identify an unstated “real”

reason, much less to show that the stated reasons are contrived.

       Pages 25-28: The Secretary adequately explained his decision and considered the relevant

factors. The States suggest that the Secretary failed to consider certain factors, but in fact their

argument is simply that they would have weighed the factors differently. But weighing those

factors, especially in the face of uncertainty, was for the Secretary alone, and is not subject to

judicial second-guessing. See Dep’t of Com., 139 S. Ct. at 2570 (“the choice between reasonable

policy alternatives in the face of uncertainty [is] the Secretary’s to make”); see also Biden v.

Missouri, No. 21A240, 2022 WL 120950, at *4 (U.S. Jan. 13, 2022).

       Pages 28-31: The September Guidance is a “general statement of policy”—a statement that

“advise[s] the public prospectively of the manner in which the agency proposes to exercise a

discretionary power,” Lincoln v. Vigil, 508 U.S. 182, 197 (1993)—and is accordingly exempt from

notice-and-comment procedures, see 5 U.S.C. § 553(b). The States contend that the September

Guidance is a binding rule because it restricts officers’ discretion. But the guidance expressly

leaves discretion with the line officer, and does not create legally enforceable rights or obligations

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that would require notice and comment. See Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015).

The States’ discussion of the scope of the Secretary’s informal interactions with various groups is

both wrong and, more importantly, irrelevant to the question whether notice and comment is

required.

       Pages 31-32: The States do not dispute that the Supreme Court has rejected constitutional

claims premised on statutory violations. See Dalton v. Spencer, 511 U.S. 462, 473 (1994); see also

Mississippi v. Johnson, 71 U.S. 475, 499 (1866). Instead, the States insist that those doctrines do

not apply to suits against the President’s subordinates and suggest that the Supreme Court’s

invitation for further briefing on the question in 2016 allows this Court to disregard Dalton and

the like. Those arguments are without merit; Dalton controls until the Supreme Court itself says

otherwise, and bars the States’ Take Care Clause claim.

       Page 32: Remand without vacatur is the appropriate remedy when the agency can cure any

defects and vacatur would be disruptive. If the Court concludes that the agency failed to satisfy

the APA’s requirements, it should remand to DHS to cure those defects but should not vacate the

September Guidance.




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                                        INTRODUCTION

        People may reasonably disagree about the best way to prioritize immigration enforcement

efforts. But neither the States nor the Court has authority to set those priorities. Instead, Congress

vested that discretion in the Secretary of Homeland Security. The States’ claims thus fail at the

threshold. And, on the merits, the States’ claims cannot be reconciled with controlling precedent

and decades of unbroken practice. Plaintiffs’ claims should be dismissed.

                                           ARGUMENT

        The States renew the same erroneous arguments they made in their motion for a

preliminary injunction. In doing so, they first draw a caricature of the September Guidance that in

no way resembles the actual policy. They proceed from there to twist the law to fit their political

or policy objectives, without regard to the obvious reality that it is the Secretary of Homeland

Security—appointed by the President, confirmed by the Senate, and vested with broad statutory

authority to “establish national immigration enforcement policies and priorities”—who alone must

make these policy judgments. The Court should reject the States’ novel attempts to upset the

constitutional balance and should enter judgment for Defendants.
I.     The States grossly mischaracterize the policy they challenge.
        In the September Guidance, the Secretary of Homeland Security recognized the need to

prioritize enforcement efforts, given resource limitations and the vast number of noncitizens

potentially subject to enforcement actions. Otherwise, the Department might fritter away resources

on marginal cases at the expense of actions that more effectively promote the national interest.

        The States mischaracterize this approach both as a departure from past practice and also as

somehow unfaithful to various statutes. It is neither. They erroneously describe the guidance

variously as “an abdication of enforcement responsibility,” Pls.’ Opp. at 1, ECF No. 34, PAGEID

872, as “strip[ping] officers of their discretion,” id. at 13, PAGEID 883, as “placing a stamp of

disapproval on enforcement activities,” id. at 23-24, PAGEID 893-94, as “deeming [statutes]

inoperative,” id. at 24, PAGEID 894, and as “a broad nonenforcement policy,” id. at 33, PAGEID

903.

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       These descriptions are impossible to square with the actual policy the States challenge,

which expressly commits to enforcing the immigration laws, expressly commits discretion to line

officers, and expressly preserves authority to pursue any enforcement action. See Sept. Guidance

at AR2, 5, ECF No. 4-1, PAGEID 99, 102. Immigration officials have operated under various

priority schemes for decades. See Considerations Memo at AR2-5, ECF No. 27-2, PAGEID 444-

47 (discussing the Executive’s exercise of immigration enforcement discretion dating back over a

century); Defs.’ Combined Mot. to Dismiss at 5, ECF No. 29, PAGEID 695 (“Defs.’ Mem.”)

(collecting examples). In the previous administration, for example, Secretary Kelly prioritized

enforcement for a different (and much broader) range of noncitizens, but still preserved “the

individual, case-by-case decisions of immigration officers.” Kelly Mem. at AR62, ECF No. 27-8,

PAGEID 504. And, just like Secretary Mayorkas’s guidance, Secretary Kelly’s guidance did not

“exempt[] or exclude[] any specified class or category” from enforcement. Id.; see Sept. Guidance

at AR3, ECF No. 4-1, PAGEID 100 (enforcement “is not to be determined according to bright

lines or categories”). The September Guidance follows in a long line of Secretarial guidance setting

immigration enforcement priorities, consistent with express statutory authority. See 6 U.S.C.

§ 202(5).

       The States cite favorably to a U.S. Immigration and Customs Enforcement (“ICE”) report

on detention from the prior administration to support their argument that the September Guidance

represents a broad departure from past practice. See, e.g., Pls.’ Opp. at 14, ECF No. 34, PAGEID

884 (citing U.S. Immigration and Customs Enforcement Fiscal Year 2019 Enforcement and

Removal Operations Report at 12 (“2019 ICE Report”), https://perma.cc/E3MS-DLEP). That the

States would rely so heavily on that report is surprising, as it reinforces that DHS must prioritize

its resources to meet current challenges, and that prioritization always requires tradeoffs. As that

report notes, in that year (mostly 2019) ICE reduced its “interior arrests,” including its enforcement

as to convicted criminals, because circumstances required that it “redirect its enforcement




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personnel and detention capacity” to border security. 2019 ICE Report at 3.1 ICE accordingly

focused its “limited resources” still available to its “public safety mission” on noncitizens that

“have extensive criminal histories with multiple convictions or pending charges,” whom ICE

deemed have a more “recidivist nature.” Id. at 12. Quite similarly, the September Guidance

recognizes DHS’s limited resources and directs DHS officials to prioritize enforcement actions

against “current threat[s] to public safety,” taking account of “the gravity of the offense,” and the

existence of “a serious prior criminal record.” Sept. Guidance at AR3, ECF No. 4-1, PAGEID 100.

There is nothing novel about DHS prioritizing more serious threats over less serious threats to

public safety. A contrary policy would be deeply troubling—and would betray the Secretary’s

responsibility to promote public safety.

        The States’ argument embraces a fantasy that DHS could arrest, detain, and remove every

noncitizen described in two statutory provisions. It cannot. Sections 1226(c) and 1231(a)(1) cover

categories of noncitizens far in excess of DHS’s capacity to detain. See Declaration of Peter B.

Berg ¶ 10 (AR6032-34), ECF No. 27-31, PAGEID 597-99 (“Berg. Decl.”) (explaining the

mismatch between DHS’s detention capacity and the number of noncitizens subject to § 1226(c)

and § 1231(a)); see also id. at ¶ 22 (AR6037), PAGEID 603 (describing difficulty of determining

§ 1226(c) status).

        DHS therefore cannot detain every noncitizen subject to those provisions, and even to

attempt to do so would preclude DHS from using resources on other important priorities, including

other threats to public safety. See Berg Decl. ¶ 14 (AR6032-34), ECF No. 27-31, PAGEID 597-

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  See also id. at 6 (“This shift [to a border security mission] has forced ERO to balance its public safety
mission in the interior with support for CBP operations at the Southwest Border, and ERO’s corresponding
adjustment of resources has come at a significant cost to other operational areas. As the detained population
has grown, ERO officers have had to be redeployed across the country to assist with detained docket
management. These temporary deployments and reassignments have come at a significant cost to ERO’s
interior enforcement and public safety efforts.”); id. at 12 (“Thus, while ERO continues to conduct
enforcement in the interior of the United States, in light of its limited resources and the sheer volume of
aliens attempting to enter the country, the agency has had to balance its support for border security with its
interior public safety mission.”); id. at 17 (“ICE detainers issued in FY 2019 decreased slightly (by seven
percent) from those issued in FY 2018. Like other decreases in interior enforcement activity, this was
impacted by the diversion of resources to the Southwest Border as well as limited detention space.”).

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99. Section 1226(c)(2) includes within its scope noncitizens with convictions for a wide range of

crimes, some more serious than others. See 8 U.S.C. § 1182(a)(2)(A)(i)(I)-(II) (inadmissible if

convicted of “a crime involving moral turpitude” or law “relating to a controlled substance”); see

id. § 1226(c) (incorporating § 1182(a)(2) by reference). It includes, of course, some noncitizens

convicted of grave crimes like murder and kidnapping. It can also include, on the other end of the

spectrum, noncitizens convicted of crimes like passing a bad check. See, e.g., Dolic v. Barr, 916

F.3d 680 (8th Cir. 2019) (explaining that passing a bad check in violation of Missouri Rev. Stat. §

570.120 is a crime involving moral turpitude). Nor does § 1226(c) address the full range of threats

to public safety or other national interests that the Department must consider in enforcing federal

immigration laws. Section 1226(c) does not include, for example, some very serious convictions.

See Matter of Tavdidishvili, 27 I&N 142 (BIA 2017) (holding that criminally negligent homicide

is not a crime involving moral turpitude). And it does not extend to removable noncitizens who

are credibly accused, but not convicted, of domestic battery—or indeed those credibly accused but

not convicted of any crime. In these cases, detention pending removal proceedings might be readily

justifiable on public safety grounds, but would be authorized only under § 1226(a), not § 1226(c).

Section 1231(a)(1), on the other hand, applies to all noncitizens with final removal orders, without

regard to whether they have been convicted of any criminal offense or present any threat to public

safety.

          Faced with this reality, the Secretary chose to target his limited resources on the most

serious threats to public safety, national security, and border security. The Secretary emphasized

that “[w]e do not lessen our commitment to enforce immigration law to the best of our ability,”

and that the guidance “does not compel an action to be taken or not taken,” but instead “leaves the

exercise of prosecutorial discretion to the judgment of our personnel.” Sept. Guidance at AR2, 5,

ECF No. 4-1, PAGEID 99, 102. The States’ hyperbolic descriptions bear no resemblance to the

policy they challenge.




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II.   The September Guidance is consistent with law.
       A.    The September Guidance does not violate any conceivable duty in the INA.
       Congress expressly charged the Secretary of Homeland Security with “establishing

national immigration enforcement policies and priorities.” 6 U.S.C. § 202(5). In the September

Guidance the Secretary did just that: he directed his officers on how to decide which of millions

of potential enforcement actions to pursue, while emphasizing that the guidance “does not compel

an action to be taken or not taken.” Sept. Guidance at AR5, ECF No. 4-1, PAGEID 102.

       The States contend that § 1226(c)(1) imposes a judicially enforceable mandate to

immediately arrest and detain any noncitizen that falls within its ambit, and that § 1231(a)(1)

imposes a similar mandate to remove all noncitizens within 90 days of a removal order becoming

final. As explained below, neither assertion is true. But even if they were, nothing in the September

Guidance would violate such mandates. Nothing in the guidance prohibits DHS from detaining

any noncitizen subject to § 1226(c), or from removing within 90 days any noncitizen with a final

order of removal. See Sept. Guidance at AR5, ECF No. 4-1, PAGEID 102 (“The civil immigration

enforcement guidance does not compel an action to be taken or not taken.”). Rather, it is the

inherent limits on DHS resources—the literal impossibility—that prevents DHS from detaining or

removing every noncitizen subject to enforcement action under either § 1226(c) or § 1231(a)(1).

Vacating the September Guidance would do nothing to alleviate these resource constraints.

       The States contend that the September Guidance “strips” DHS’s officers’ “statutory

authority” and their “discretion” to remove noncitizens within the ambit of § 1231 and prevents

them from taking into custody noncitizens “convicted of murder, rape, or sexual abuse of a minor.”

Pls.’ Opp. at 6, 13, ECF No. 34, PAGEID 876, 883. Not so. For one, the September Guidance (just

like the Kelly Memorandum in effect for most of the previous administration) “leaves the exercise

of prosecutorial discretion to the judgment of [DHS] personnel.” Sept. Guidance at AR5, ECF No.

4-1, PAGEID102. And for another, the Secretary specifically directed his personnel to prioritize

those who present a threat to public safety, taking into particular account the gravity of the offense

of conviction. Id. at 3, PAGEID 100.


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       The September Guidance simply recognizes the reality of limited resources, and offers

discretion on how to act in the face of it. Because DHS cannot remove everyone, it must decide

who among those that it could remove it in fact will remove. The authority to prioritize in the face

of limited resources is inherent to the executive power, see U.S. Const. Art. II, § 1, cl. 1; id. Art.

II, § 3, and expressly conferred on the Secretary by statute, 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a).

See also AADC, 525 U.S. at 483-84; Arizona, 567 U.S. at 396. Cf. TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2207 (2021) (“[T]he choice of how to prioritize and how aggressively to pursue

legal actions against defendants who violate the law falls within the discretion of the Executive

Branch, not within the purview of private plaintiffs (and their attorneys).”). Nothing in the

September Guidance violates the INA.
       B.    The statutes do not create any judicially enforceable duty.
       Neither § 1226(c)(1) nor § 1231(a)(1) creates any judicially enforceable duty in any event.

The States principally rest their argument on the use of the word “shall” in each of those statutes.

This blithe insistence ignores decades of settled law regarding statutory construction in the context

of prospective government action. See Castle Rock, 545 U.S. at 761. The word “shall” always

derives its meaning from context. See Gutierrez de Martinez v. Lamagno, 515 U.S. 417, 434 n.9

(1995) (“Though ‘shall’ generally means ‘must,’ legal writers sometimes use, or misuse, ‘shall’ to

mean ‘should,’ ‘will,’ or even ‘may.’”); Richbourg Motor Co. v. United States, 281 U.S. 528, 534

(1930) (similar). The States’ preferred context, evidently, involves statutes of limitations—they

cite Rotkiske v. Klemm, 140 S. Ct. 355, 361 (2019) (statute of limitations did not allow for

discovery rule); TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001) (same); and National Railroad

Passenger Corp. v. Morgan, 536 U.S. 101, 109 (2002) (plaintiff must file within statutory filing

timelines). Those cases are far afield, and they are of no help interpreting “shall” in this context.

       Instead, the Court should look to the Supreme Court’s holding in Castle Rock, which

unmistakably counsels that the use of the word “shall” does not displace law enforcement’s

inherent discretion to prioritize or to decline to enforce in particular circumstances. 545 U.S. at

761; see also Chicago v. Morales, 527 U.S. 41, 49 n.8 (1999) (statute indicating that police “shall

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order” dispersal did not displace enforcement discretion). That instruction is all the more potent in

the context of immigration enforcement, where the concerns warranting judicial deference to

Executive enforcement decisions are “greatly magnified.” AADC, 525 U.S. at 490; see also Jama,

543 U.S. at 348 (immigration enforcement “implicate[s] our relations with foreign powers and

require[s] consideration of changing political and economic circumstances” (quoting Mathews v.

Diaz, 426 U.S. 67, 81 (1976))).

         The States attempt to rebut the teaching of Castle Rock by setting up and tearing down a

strawman. See Pls.’ Opp at 8, ECF No. 34, PAGE ID 878. Defendants have not argued that Castle

Rock “disallows” or “bar[s]” legislatures from establishing mandatory enforcement duties—

although such laws would raise serious constitutional concerns in the federal context, see In re

Aiken County, 725 F.3d 255, 263 (D.C. Cir. 2013) (Kavanaugh, J., concurring) (“In light of the

President’s Article II prosecutorial discretion, Congress may not mandate that the President

prosecute a certain kind of offense or offender.”).2 What Castle Rock says is that it takes much

more than using the word “shall” to displace the otherwise inherent and longstanding discretion of

enforcement officials.

        The States insist that a “stronger indication” exists here because Congress used both “may”

and “shall” in alternate places in the INA. But that was just as true of the statute at issue in Castle

Rock. See Castle Rock, 545 U.S. at 775 (Stevens, J., dissenting); Colo. Rev. Stat. §§ 18-6-

803.5(3)(d), (6)(a)-(b), (7), (9); see also Texas v. United States, 14 F.4th 332, 339 (5th Cir. 2021),

vacated en banc, 2021 WL 5578015 (Nov. 30, 2021). The States point to bits of legislative history,

but that history is mixed, see, e.g., H.R. Rep. 104-469, pt. 1, at 160, (conf. rep.) (1996) (describing

§ 1231(a) as setting a “target” for removal), and in any event much stronger legislative history was




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  Nor may Castle Rock fairly be read to turn solely on questions of substantive due process. Contra Pls.’
Opp. at 8, ECF No. 34, PAGEID 878. The Supreme Court interpreted the state statute and held that it did
not create a judicially enforceable mandate, and only then, as an aside, noted its doubt that “[e]ven if” the
statute mandated enforcement the respondent still might have a “property” interest within the meaning of
the Fourteenth Amendment. See 545 U.S. at 766-67.

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deemed insufficient in Castle Rock, see 545 U.S. at 759 n.6 (quoting legislative history); see also

id. at 779-84 (Stevens, J., dissenting) (same).

       The States evidently have difficulty imagining how Congress might have been clearer, but,

as Defendants pointed out, see Defs.’ Mem. at 31-32, ECF No. 29, PAGEID 721-22, Congress

was perfectly clear in these same sections when it wanted to displace executive discretion, see 8

U.S.C. § 1226(c)(2) (DHS may take certain actions “only if” certain conditions are met); id.

§ 1231(a)(2) (DHS may take certain actions “under no circumstances”). DHS’s interpretation of

§ 1226 and § 1231 does not render any part of them superfluous. DHS has consistently understood

those sections to restrict DHS’s authority to release certain noncitizens that it has already detained.

See Considerations Memo at AR18-19, ECF No. 27-2, PAGEID 460-61; see also Meissner Mem.

at AR32, ECF No. 27-4, PAGEID 474 (similar analysis from 2000). The States ignore the

numerous courts that have applied Castle Rock to these precise statutes, concluding that they do

not displace the discretion inherent to law enforcement. See Arizona v. DHS, No. CV-21-00186-

PHX-SRB, 2021 WL 2787930, at *9 (D. Ariz. June 30, 2021) (“Interpreting § 1231(a)(1)(A) to

mandate the removal of a noncitizen within 90 days is irreconcilable with § 1231(a)(3)’s

provisions for supervision of noncitizens not removed within 90 days.”); Texas, 14 F.4th at 338.

       The States again point to various cases that describe the statutes in mandatory terms. But

none of these cases contemplated judicial enforcement of a mandate against the Executive. See

Defs.’ Mem. at 31, ECF No. 29, PAGEID 721; see Texas, 14 F.4th at 338 (distinguishing Guzman

Chavez on this basis). Those courts did not decide, as the issue was not remotely implicated,

whether § 1231(a) or § 1226(c) impose a judicially enforceable duty on the Secretary. Rather, each

arose in the context of a detainee challenging his detention, and it is not plausible that the Supreme

Court discarded its longstanding precedent on discretion in immigration enforcement and the

persistence of enforcement discretion in the face of a statutory “shall” without acknowledgment.

Indeed, in Preap, on which the States rely, see Pls.’ Opp. at 6, ECF No. 34, PAGEID 876, the

Supreme Court went out of its way to reject the contention that any duty in § 1226(c) was judicially

enforceable. The Supreme Court explained that even if “Congress does not draft legislation in the

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expectation that the Executive will blow through the deadlines it sets” that does not mean “that

Congress wanted the deadline enforced by courts.” Preap, 139 S. Ct. at 969 n.6 (emphasis in

original). The Supreme Court accordingly refused to enforce § 1226(c) against the Executive. And,

as discussed further below, it is similarly clear that Congress did not want § 1231 enforced against

the Executive: Congress expressly provided that “[n]othing in this section shall be construed to

create any substantive or procedural right or benefit that is legally enforceable by any party against

the United States or its agencies or officers or any other person.” 8 U.S.C. § 1231(h).
III. The September Guidance is not subject to judicial review.
        A.    Enforcement prioritization is committed to the Secretary’s discretion.
        Certain fields have “traditionally been committed to agency discretion.” Chaney, 470 U.S.

at 832. Enforcement decisions are one such area, where the agency must conduct “a complicated

balancing of a number of factors which are peculiarly within its expertise,” including deciding

“whether agency resources are best spent on this violation or another, whether the agency is likely

to succeed if it acts, whether the particular enforcement action requested best fits the agency’s

overall policies, and, indeed, whether the agency has enough resources to undertake the action at

all.” Id. Because an “agency generally cannot act against each technical violation of the statute it

is charged with enforcing” courts generally leave it to the agency “to deal with the many variables

involved in the proper ordering of its priorities.” Id. at 321-32; see Madison-Hughes v. Shalala, 80

F.3d 1121, 1126 (6th Cir. 1996) (applying Chaney to an enforcement policy).

        These principles preclude judicial review here. The Secretary is expressly vested with the

authority to set “national immigration enforcement policies and priorities,” 6 U.S.C. § 202(5), and

it is his task, without judicial interference, to assess the “many variables” that go into such analysis.

The States do not meaningfully engage with this presumption of nonreviewability that applies.

Their only retort is to decree the September Guidance a “broad nonenforcement policy.” See Pls.’

Opp. at 33-34, ECF No. 34, PAGEID 903-04 (citing Crowley Caribbean Transp. v. Pena, 37 F.3d

671, 677 (D.C. Cir. 1994)). But the case on which they rely (which held the challenged action

unreviewable) was discussing the reserved question in Chaney whether an otherwise unreviewable

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policy would become reviewable if the agency “consciously and expressly adopted a general

policy that is so extreme as to amount to an abdication of its statutory responsibilities. See Crowley,

37 F.3d at 677 (quoting Chaney, 470 U.S. at 833 n.4). The September Guidance does not even

approach that category. Cf. Arizona, 2021 WL 2787930 at *10 (rejecting Arizona and Montana’s

contention that the Interim Guidance was reviewable as an “abdication” of statutory duty); AART

Summary Data, ECF No. 27-15, at AR108, PAGEID 537 (summarizing enforcement actions under

Interim Guidance). The Secretary reiterated DHS’s “commitment to enforce immigration laws to

the best of our ability,” Sept. Guidance at AR2, ECF No. 4-1, PAGEID 99, and expressly advised

that his guidance “does not compel an action to be taken or not taken,” id. at AR5, PAGEID 102.

Whether to enforce in a particular circumstance is left to the “judgment of our personnel.” Id.; cf.

Polyweave Packaging, Inc. v. Buttigieg, No. 4:21-CV-00054-JHM, 2021 WL 4005616, at *12–13

(W.D. Ky. Sept. 2, 2021) (appeal docketed) (“These DOT enforcement procedures are closely tied

to the prototypical type of unreviewable agency action: the decision not to institute enforcement

proceedings.”). The presumption of nonreviewability therefore applies with full force.

       Instead of seriously disputing the presumption, the States contend that the standard that

applies in the absence of the presumption—the absence of meaningful statutory criteria—is not

met. But the States’ arguments fail even under that standard. The States reference the Sixth

Circuit’s decision in Barrios Garcia v. DHS, 14 F.4th 462 (6th Cir. 2021), where the court held

that the terms “pending” and “bona fide” provided sufficient statutory standards by which to judge

DHS’s alleged failure to issue work authorization to certain nonimmigrants while their

applications were pending. Id. at 481; see Pls.’ Opp. at 32-33, ECF No. 34, PAGEID 902-03. But

that case is of no help to the States. As that court recognized, issuing work authorizations is unlike

the enforcement context discussed in Chaney because it concerns a process for the conferral of a

government benefit. Barrios Garcia, 14 F.4th at 482-83. Nor does the relevant statute under which

the Secretary acted here—6 U.S.C. § 202(5)—contain any comparable standard. Indeed, that

statute, which provides that the Secretary is responsible for “[e]stablishing national immigration

enforcement policies and priorities,” mirrors the example given by the Sixth Circuit, see Barrios

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Garcia, 14 F.4th at 481 (“Imagine if § 1184(p)(6) read ‘the DHS Secretary may grant work

authorization to noncitizens.’”). Nothing in § 1231, for example, tells the Secretary how to set

those priorities—how to decide who among millions to pursue for removal first.

       The States misleadingly quote from the Supreme Court’s decision in Mach Mining LLC v.

EEOC, 575 U.S. 480 (2015), to buttress their mistaken contention that no standard at all is standard

enough for judicial review. See Pls.’ Opp. at 33, ECF No. 34, PAGEID 903. There, the Supreme

Court held that the statutory term “informal methods of conference, conciliation, and persuasion”

provided a standard (albeit a deferential one) for reviewing EEOC’s attempts at pre-lawsuit

conciliation. The specific statutory words “conference, conciliation, and persuasion” (words that

the States omit from their discussion) “necessarily involve communication between parties,

including the exchange of information and views.” Mach Mining, 575 U.S. at 488. That case offers

no support for the States’ contentions here.

       The States next point to the transition period Congress enacted to govern in the first two

years after it enacted the IIRIRA. There “would have been no need” for the transition period, the

States insist, if § 1226(c) and § 1231(a) were not judicially enforceable. But the Supreme Court in

Preap rejected this exact line of reasoning. 139 S. Ct. at 969 & n.6 (rejecting the contention that

the transition period “enacted along with § 1226(c) would have been superfluous if § 1226(c) did

not call for immediate arrests, since those [transition] rules authorized delays in § 1226(c)’s

implementation while the Government expanded its capacities”).

       The establishment of enforcement priorities is a quintessential function of the Executive,

and Congress committed that discretion as to immigration enforcement to the Secretary. 6 U.S.C.

§ 202(5); 8 U.S.C. § 1103(a). The States may not like the priorities that the Secretary has adopted,

but it is his decision to make, unencumbered by interference from the States or from the judiciary.
       B.    The September Guidance is not final agency action under the APA.
       Regardless, the Secretary’s enforcement priorities are not “final agency action” under the

APA. The States contend that the September Guidance affects “rights and obligations” because it

“denies discretion” to line officers. That contention is belied by the text of the guidance itself,

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which expressly commits the discretion to make case-by-case determinations, based on all the

circumstances, to DHS’s line officers. See, e.g., Sept. Guidance at AR3, ECF No. 4-1,

PAGEID 100 (enforcement based on “totality of the facts and circumstances”); id. at AR4,

PAGEID 101 (“[O]ur personnel must evaluate the individual and the totality of the facts and

circumstances and exercise their judgment accordingly”); id. at AR5, PAGEID 102 (“[T]his

guidance leaves the exercise of prosecutorial discretion to the judgment of our personnel.”);

compare, Kelly Memo. at AR62, ECF No. 27-8, PAGEID 504 (leaving discretion to line officers).

Because the guidance does not dictate the outcome in any particular case, it does not eliminate line

officers’ discretion. See Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 717

(D.C. Cir. 2015) (agency guidance to safety inspectors “on what to look for” was not “final agency

action” because it “preserves the aviation safety inspectors’ discretion” in “an individual case,”

“even if [it] arguably inclines aviation safety inspectors towards certain outcomes”).

       Moreover, although not dispositive, the way an agency characterizes its own actions is

highly relevant to whether it creates rights or obligations. See, e.g., id. at 717 (citing Ctr. for Auto

Safety v. Nat’l Highway Traffic Safety Admin., 452 F.3d 798, 806 (D.C. Cir. 2006)). The “no right

or benefit” language in the memorandum is not, as Plaintiffs would have it, mere boilerplate.

Courts—including the Sixth Circuit—regularly hold that such provisions preclude legal challenges

based on the relevant order or regulation. In Michigan v. Thomas, 805 F.2d 176 (6th Cir. 1986),

the Sixth Circuit addressed an Executive Order that contained nearly identical language. The court

firmly endorsed the government’s claim that, based on that language, the Executive Order was not

judicially enforceable: “Given this clear and unequivocal intent that agency compliance with

Executive Order 12,291 not be subject to judicial review, we hold that the Order provides no basis

for rejecting the EPA’s final action. The Order was intended ‘to improve the internal management

of the Federal government’ and not to confer rights judicially enforceable in private litigation.” Id.

at 187; see also Hussaini v. Lynch, 644 F. App’x 403, 408 (6th Cir. 2016) (DHS’s Morton Memo

created no enforceable rights); United States v. Pacheco-Alvarez, 227 F. Supp. 3d 863, 893 n.11

(S.D. Ohio 2016) (same).

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       In no way do these guidelines change any person or entity’s legal rights or obligations. For

noncitizens subject to removal, their legal status remains unchanged, and they have no right to

remain in the United States just as before. The September Guidance does not create any safe

harbors from enforcement or identify any conduct which is newly unlawful. Cf. U.S. Army Corps

of Engineers v. Hawkes Co., 578 U.S. 590, 599 (2016) (identifying two ways agency action might

be deemed final). And the September Guidance does not even purport to regulate the States. The

practical effects that flow from the guidance does not render it “final” for purposes of the APA.

See Parsons v. DOJ, 878 F.3d 162, 168 (6th Cir. 2017); Ass’n of Flight Attendants, 785 F.3d at

718 (“An agency pronouncement is not deemed a binding regulation merely because it may have

some substantive impact, as long as it leave[s] the administrator free to exercise his

informed discretion.”). Nor, even if the preexisting requirements to provide medical care or to

supervise parole could constitute “legal effects” of DHS’s enforcement decisions, would those

obligations derive from the September Guidance. Cf. Hawkes, 578 U.S. at 598 (agency action is

final if it has “direct and appreciable legal consequences” (emphasis added)). Indeed, the States

concede that these obligations occur only upon later events—when “a detainer is not executed and

a criminal alien is released.” Pls.’ Opp. at 37, ECF No. 34, PAGEID 907. The States then further

conflate the causation inquiry for standing with the question of whether an agency action is final

under the APA. These are distinct inquiries—otherwise, the standing inquiry would always answer

the rights and obligations inquiry. And as the Sixth Circuit has made clear, “[a]n agency action is

not final if it does not of itself adversely affect complainant but only affects his rights adversely

on the contingency of future administrative action.” Jama, 760 F.3d at 496. Defendants contest

that a particular nonenforcement decision would constitute final agency action, but for purposes

of this action, it is enough to accept the States’ concession and dismiss their suit.
       C.    Judicial review is precluded by “other statutes.”
       In Block v. Community Nutrition Institute, the Supreme Court explained, and demonstrated,

that whether a particular claim is precluded by other statutes under § 701(a)(1) requires a search

not just for express language precluding review, but an inquiry into the statutory structure and

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legislative context. 467 U.S. 340, 345 (1984). In Block, no statute expressly precluded review, but

the Supreme Court nonetheless found that APA review was unavailable because the statutory

structure channeled claims by certain parties through an administrative process. Id. at 346-47. This

process, the court held, precluded claims outside of it.

       Here, Congress has similarly established a robust review process for claims related to

immigration enforcement. To broadly permit claims outside this process would upset the statutory

scheme and ignore Congress’s evident intent to carefully circumscribe judicial review in the

immigration enforcement context. Cf. id. at 348; United States v. Fausto, 484 U.S. 439, 448-450

(1988). APA claims challenging immigration enforcement are therefore precluded. See 5 U.S.C.

§ 701(a)(1); cf. Ayuda, Inc. v. Reno, 7 F.3d 246, 250 (D.C. Cir. 1993) (“It follows then, that an

organizational plaintiff could not undermine the statutory scheme by suing to challenge ‘generic’

INS policies or statutory interpretations that bear on an alien’s right to legalization.”). The

Supreme Court has found exceptions for constitutional claims and claims (like habeas) challenging

detention, in light of the much stronger presumptions in favor of judicial review that apply in those

contexts. See, e.g., Demore v. Kim, 538 U.S. 510, 517 (2003); Jennings v. Rodriguez, 138 S. Ct.

830, 841 (2018) (plurality opinion); Preap, 139 S. Ct. at 962 (plurality opinion). This case does

not implicate those presumptions, and so, under the ordinary analysis set forth in Block, the States’

claims are precluded.

       The States do not engage with Block, or its requirement that courts consider not just specific

statutory provisions but also statutory structure and context. Cf. Defs.’ Mem. at 25-26, ECF No.

29, PAGEID 715-16. The structure here—reflected in many provisions—speaks to Congress’s

desire to “protect[] the Executive’s discretion from the courts.” AADC, 525 U.S. at 486. So too,

the context. “A principal feature of the removal system is the broad discretion exercised by

immigration officials.” Arizona, 567 U.S. at 396. Immigration enforcement touches on many

concerns, including foreign policy, and judicial review outside the narrow structure Congress

established would be improper. AADC, 525 U.S. at 484-86; see Considerations Memo at AR6,

ECF No. 27-2, PAGEID 448. And that is especially so in the context of enforcement priorities,

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which are the special province of the executive. Under the correct doctrinal analysis, set forth in

Block, the States cannot pursue this challenge under the APA.

       Rather than confront that doctrinal inquiry, the States focus individually on three specific

statutory provisions that form part of the overall statutory scheme. Section 1252(b)(9), the States

contend, does not apply to a challenge to policies. See Pls.’ Opp. at 39, ECF No. 34, PAGEID 909.

Not so: the Supreme Court has identified three circumstances where it applies, including

challenges to “the process by which . . . removability will be determined.” Regents of the Univ. of

Cal., 140 S. Ct. at 1907 (omission in original, citation omitted). The States’ principal contention

is that the September Guidance changes the process for deciding who to remove—squarely within

§ 1252(b)(9). See also J.E.F.M. v. Lynch, 837 F.3d 1026, 1035 (9th Cir. 2016) (section 1252(b)(9)

bars “policies-and-practices challenges”).

       Section 1226(e) bars review of the States’ claims to the extent they relate to § 1226. The

Secretary’s discretionary decisions—such as his decision to institute enforcement priorities to

guide arrests and removal—are not subject to judicial review insofar as they implicate § 1226. The

States insist that § 1226(e) proscribes review only of individual enforcement decisions. But that

view of the statute appears only in plurality opinions, e.g., Preap, 139 S. Ct. at 962 (plurality op.),

and such a limitation appears nowhere in the statute, see id. at 974-75 (Thomas, J., concurring in

part), which by its terms applies broadly to the government’s “judgment”—not just its enforcement

decisions—“regarding the application of” § 1226. And, as is apparent in § 1252, which covers

policies and procedures, Congress contemplated that some such challenges would arise outside the

context of specific enforcement actions.

       As to § 1231(h), the States advance a series of counterintuitive arguments. First, they

contend that they can bring their claim that the September Guidance violates § 1231—that is, they

can seek to enforce § 1231 through an APA action—because they are not bringing a claim “under”

§ 1231. But the States cannot enforce § 1231 in an APA action (or any other action) because—as

§ 1231(h) provides—“nothing” in § 1231 is “legally enforceable by any party against the United

States.” The Sixth Circuit has interpreted essentially identical language in an Executive Order to

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reflect a “clear and unequivocal intent that agency compliance with [the order] not be subject to

judicial review.” Michigan, 805 F.2d at 187. Here, § 1231 similarly reflects Congress’s “clear and

unequivocal intent that agency compliance with” the statute “not be subject to judicial review.”3

        The States next renew their argument that the term “any party” in § 1231(h) doesn’t include

parties like them, but only means “the alien in a removal proceeding.” Pls.’ Opp. at 41, ECF No.

34, PAGEID 911. But the States have no answer to the ordinary meaning of “any party,” the

“expansive meaning” of the word “any,” Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 218–19

(2008), or the contrast between “any party” in § 1231(h) and the narrower term “the alien” used

throughout the rest of § 1231. Instead, the States rely on a bit of legislative history indicating that

one purpose of the provision was to preclude suits by noncitizens with final orders of removal. But

the States ignore both language in that very same sentence of legislative history—“among other

things”—and also the Supreme Court’s repeated admonition that it is not the judiciary’s function

“to restrict the unqualified language of a statute to the particular evil that Congress was trying to

remedy,” Brogan v. United States, 522 U.S. 398, 403 (1998); see also Bostock v. Clayton Cnty.,

140 S. Ct. 1731, 1749 (2020). Indeed, courts should reference legislative history only “to clear up

ambiguity, not create it.” Milner v. Dep’t of Navy, 562 U.S. 562, 574 (2011).

        Defendants separately pressed the related argument that Congress did not want any plaintiff

to sue to enforce § 1231, and so the States (like any other plaintiff) are outside the zone of interests

of the statute. See Defs.’ Mem. at 29-30, ECF No. 29, PAGEID 719-20. The zone-of-interests test

requires an inquiry into whether the particular plaintiff “falls within the class of plaintiffs whom

Congress has authorized to sue.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S.

118, 127-28 (2014). To answer the zone-of-interests inquiry, the States erroneously invite the

Court to look to Congress’s “overall purposes” in the INA as a whole. See Pls.’ Opp at 42, ECF


3
  The States cite one case where they assert that a court “enforced” § 1231, but that case focused on a
challenge to a denial of a claim for asylum under 8 U.S.C. § 1158. See Sealed Pet’r v. Sealed Resp., 829
F.3d 379, 383 (5th Cir. 2016). Courts also hear challenges to the application of regulations implementing
the Convention Against Torture. See, e.g., Garcia v. Johnson, No. 14-CV-01775-YGR, 2014 WL 6657591,
at *5 n.3 (N.D. Cal. Nov. 21, 2014).

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No. 34, PAGEID 912. But “the zone-of-interests test is to be determined not by reference to the

overall purpose of the Act in question,” but instead “by reference to the particular provision of

law upon which the plaintiff relies.” Bennett v. Spear, 520 U.S. 154, 175–76 (1997). “It is difficult

to understand how” the States “could have failed to see this from [the Supreme Court’s] cases.”

Id. at 176. And looking to § 1231, Congress was unequivocal that it did not want “any party” to

sue to “enforce[]” its terms “against the United States.” 8 U.S.C. § 1231(h).

       The States are no doubt correct that § 1231 does not create “rights” that are “enforceable

directly from the statute itself.” Pls.’ Opp. at 41, ECF No. 34, PAGEID 911 (quoting Gonzaga

Univ. v. Doe, 536 U.S. 273, 283 (2002)). But as the Ninth Circuit has explained, Congress added

§ 1231(h) (or, more specifically, its statutory predecessor before recodification) specifically to

preclude efforts to enforce the statute indirectly, either through the APA or a mandamus action.

See Campos v. INS, 62 F.3d 311, 314 (9th Cir. 1995) (explaining that the statute must do more

than bar a direct cause of action because no court had ever inferred a direct cause of action under

the statute). The States’ attempt to distinguish the Tenth Circuit’s decision holding that “no one

can satisfy the zone of interests test” is unavailing: although that case arose in a mandamus posture,

the court specifically said that it was applying the same zone-of-interests test that would apply in

an APA action. See Hernandez-Avallos v. INS, 50 F.3d 842, 844-45 (10th Cir. 1995).

       Whether § 1231(h) is understood as an independent limit on jurisdiction, as part of the

Block jurisdictional analysis, as a limit on the zone of interests, or as a limit applied at the merits,

the effect is the same: the States cannot prevail on any claim that the September Guidance violates

§ 1231.
IV. The States lack standing.
       The States have failed to show that any Plaintiff State has standing to challenge the

September Guidance. The States have not shown that the September Guidance “certainly” has

inflicted, or will inflict, any injury upon the Plaintiff States. Indeed, the States effectively concede

that they do not expect, or want, any change should they prevail; they seek an injunction that

compels DHS to “[m]erely acknowledg[e] that Congress created mandatory priorities” while

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permitting DHS to continue “exercising basic judgment in line with these priorities, as the agency

has done for years.” Pls.’ Opp. at 44, ECF No. 34, PAGEID 914. What the States seek, evidently,

is simply an advisory opinion on the meaning of two provisions of the INA. That is not a proper

function of the judiciary, and this Court should reject the States’ invitation to ignore the strictures

of Article III.

        To establish standing to “seek injunctive relief, a plaintiff must show that” it “is under

threat of suffering” an “actual and imminent” injury caused by “the challenged action,” and that

“a favorable judicial decision will prevent” that injury. Summers v. Earth Island Inst., 555 U.S.

488, 493 (2009). The “threatened injury must be certainly impending to constitute injury in fact”;

allegations of “possible future injury do not satisfy . . . Art. III.” Whitmore v. Arkansas, 495 U.S.

149, 158 (1990) (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979)) (emphasis added).

        The States largely rely on a single theory: that the September Guidance will result in

increased crime, and increased crime-related costs, in the Plaintiff States. But again, this theory

relies on an elaborate, speculative chain of events. The States do not dispute that for the September

Guidance to inflict any injury upon them, (i) it would have to result in fewer enforcement actions

against noncitizens who are or will be located in the Plaintiff States and who are covered by

sections 1226(c) and 1231(a)(1), (ii) those precise noncitizens will then commit crimes in the

Plaintiff States, and (iii) those crimes will have to impose greater costs than the crimes that would

have been committed by those who will now be apprehended and removed due to the September

Guidance’s focus on noncitizens likely to pose a threat to public safety and those who arrived in

the United States after November 2020.

        The States provide no evidence or factual support to establish any step of this injury theory.

Instead, they first assert that ICE has generally “cut back on taking custody of criminal aliens.”

Pls.’ Opp. at 27, ECF No. 34, PAGEID 897. But even assuming this were true, not all crimes

impose the same costs. As noted in the motion to dismiss—and as the States do not dispute—due

to the priority framework in the Interim Guidance, ICE was able to arrest more noncitizens

convicted of aggravated felonies. See Considerations Memo at AR17, ECF No. 27-2, PAGEID

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459 (from February 18 to August 21, 2021, “ICE . . . arrested 6,046 individuals with [aggravated

felony] convictions compared to just 3,575 in the same period in 2020”); Berg Decl. ¶¶ 15-16

(AR6035), ECF No. 27-31, PAGEID 600. The States have presented no evidence to support the

counterintuitive conclusion that the agency’s policy that focuses on the most serious threats to

public safety will result in more crime than a policy that does not.

        The States also briefly reiterate their second injury theory, namely that the September

Guidance will increase the number of noncitizens using “emergency medical services, schooling,

and other social services” in the Plaintiff States. Pls.’ Opp. at 28, ECF No. 34, PAGEID 898. But

this injury theory fails for the same reason: the States fail to show that the September Guidance

will result in fewer enforcement actions against those noncitizens who not only reside in the

Plaintiff States but will also utilize State resources. Moreover, the States’ evident belief that DHS

is statutorily required to focus its resources on those with criminal convictions and with final orders

of removal would mean that DHS would have to deprioritize recent arrivals—quite possibly

increasing the States’ noncitizen populations. Thus, the Plaintiff States have all failed to establish

a “certain” injury tied to the September Guidance, or redressable by an order setting it aside.4

        Further, the States’ injury theory is especially inadequate with respect to Ohio and

Montana. “Each plaintiff has the burden ‘clearly to allege facts demonstrating that he is a proper

party to invoke judicial resolution of the dispute.’” Crawford v. U.S. Dep’t of Treasury, 868 F.3d

438, 457 (6th Cir. 2017) (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). Here, the States

themselves acknowledge that Arizona is situated differently from Ohio and Montana. See Compl.


4
  This is consistent with the principle that a litigant “lacks a judicially cognizable interest in the prosecution
or nonprosecution of another.” Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973); see also Sure-Tan, Inc.
v. NLRB, 467 U.S. 883, 897 (1984) (third parties “have no judicially cognizable interest in procuring
enforcement of the immigration laws.”). In response, the States argue that, in Linda R.S., “prosecution
would not have affected the plaintiff financially.” Pls.’ Opp. at 28, ECF No. 34, PAGEID 898. But that was
the plaintiff’s precise theory of injury in that case, 410 U.S. at 618, and the broad principle laid out in Linda
R.S.—that a party may not sue to insist on the prosecution of another—stands apart from any failure of
proof as to causation. To the contrary, the Supreme Court canvassed its “prior decisions” and found that
they “consistently h[e]ld that a citizen lacks standing to contest the policies of the prosecuting authority
when he himself is neither prosecuted nor threatened with prosecution.” Linda R.S., 410 U.S. at 619.

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¶ 35, ECF No. 1, PAGEID 9 (alleging that Arizona is a “border state” that allegedly is “acutely

affected by modifications in federal [immigration] policy,” but making no comparable allegations

about Ohio and Montana). Plaintiffs do not even argue that either Ohio or Montana have witnessed

a surge in noncitizen populations following the implementation of the September Guidance, nor

do they argue that either State is generally vulnerable to changes in immigration policy. Indeed,

the States principally argue, citing to Trump v. Hawaii, that the standing of Ohio and Montana is

irrelevant, since they may both allegedly rely on Arizona’s standing. See Pls.’ Resp. at 26, ECF

No. 34, PAGEID 896 (citing 138 S. Ct. 2392, 2416 (2018)). But in Trump v. Hawaii, the Supreme

Court merely reiterated the noncontroversial principle that a Court may issue a form of relief so

long as one plaintiff has standing to seek it. 138 S. Ct. at 2416 (“At least one plaintiff must have

standing to seek each form of relief requested in the complaint.”). The Court did not, however,

state that if one party has standing, any other party may tag along, regardless of whether it also has

standing to seek any relief. Any relief entered by the Court must be limited to redressing the

injuries established; if Ohio and Montana do not have standing they are not entitled to relief. See

Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994). The States also note that Ohio and

Montana respectively have noncitizen populations of roughly 89,000 and 4,000. But these numbers

are miniscule—89,000, for example, represents less than 1% of Ohio’s population5—and

regardless, the States present no evidence indicating that these numbers have been materially

affected by the September Guidance. Thus, Ohio and Montana especially have failed to make the

requisite showing and thus, at a minimum, the Court should dismiss them from this case.

          But even if the States had established an injury tied to the September Guidance, they fail

to show that a favorable decision by the Court could redress that injury. Due to resource

constraints, DHS inevitably has to prioritize enforcement actions against some noncitizens over

others. See Considerations Memo at AR5-8, ECF No. 27-2, PAGEID 447-50. Thus, if the Court

enjoins or sets aside some portion of the September Guidance, DHS would have to resort to some


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    See https://www.census.gov/quickfacts/OH (the 2021 population estimate for Ohio is 11,780,017).

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other prioritization framework, and there is no indication that the resulting framework would

redress the States’ alleged injuries. In response, the States appear to argue that a Court order may

remedy their alleged injuries if it requires DHS to apprehend all noncitizens covered by §§ 1226(c)

and 1231(a)(2). See Pls.’ Opp. at 30-31, ECF No. 34, PAGEID 900-01. The States, however, do

not even assert that DHS has the resources to apprehend all of those noncitizens. Indeed, DHS

does not even know the identity of all noncitizens in the United States who currently fall under

those provisions. See Decker Decl. ¶ 8 (AR5783), ECF No. 27-30, PAGEID 590 (DHS

“determin[es] whether [an] individual is subject to 8 U.S.C. § 1226(c)(1) or 8 U.S.C. § 123l(a)(2)”

only after it apprehends a noncitizen and determines whether “probable cause exists as to

removability”); Berg Decl. ¶ 22 (AR6038), ECF No. 27-31, PAGEID 603 (“determin[ing] whether

a noncitizen is covered by or subject to § 1226(c) prior to a decision whether to take the noncitizen

into custody . . . would be exceedingly burdensome or, in some instances, impossible to

accomplish”). Thus, even if the Court issued the States’ requested injunction, DHS would

inevitably, due to resource constraints, have to adopt some prioritization framework at some level,

and the States make no attempt to demonstrate that it would redress their alleged injury.6

       The States make a last-ditch effort to allege a new type of harm to support standing: an

injury to their “quasi-sovereign” interests as states. See Pls.’ Opp. at 31, ECF No. 34, PAGEID

901. This theory is identical to their crime theory, and fails for the same reasons. Nor does the

Sixth Circuit’s analysis in Kentucky v. Biden help the States. See id. (citing Kentucky v. Biden, ___

F.4th ___, 2022 WL 43178, at *8-9 (6th Cir. Jan. 5, 2022)). There the court found a state had

standing based on allegations that the federal action “threatens to override [state] policies” and had

“intruded upon an area traditionally left to the states.” Kentucky, 2022 WL 43178, at *9. Here, by

contrast, the States have no cognizable interest in regulating immigration. See Arizona, 567 U.S.



6
 The States’ proposal that the Court enjoin DHS to “act in conformance with” law, Pls.’ Opp. at 31, ECF
No. 34, PAGEID 901, would not comport with the specificity requirements of Rule 65. See Daniels v.
Woodbury Cty., Iowa, 742 F.2d 1128, 1134 (8th Cir. 1984); Meyer v. Brown & Root Const. Co., 661 F.2d
369, 373 (5th Cir. 1981); see also Schmidt v. Lessard, 414 U.S. 473, 476 (1974).

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at 401–02 (“Federal law makes a single sovereign responsible for maintaining a comprehensive

and unified system to keep track of aliens within the Nation’s borders.”).

         Given that the States cannot establish the requisite standing requirements, they suggest that

those requirements do not apply to States. See Pls.’ Resp. at 31-32, ECF No. 34, PAGEID 901-02

(citing to Massachusetts v. EPA, 549 U.S. 497 (2007) and arguing that States are given “special

solicitude” with respect to standing). But “[i]n holding that the States’ claims of injury deserve

‘special solicitude in [the] standing analysis’ . . . the Supreme Court did not abandon the

constitutional baseline;” “[a] government still must show that it suffers an ‘actual or imminent’”

injury.7 Saginaw Cnty. v. STAT Emergency Med. Servs., Inc., 946 F.3d 951, 957 (6th Cir. 2020)

(quoting Massachusetts, 549 U.S. at 520) (Sutton, J.). The States have failed to meet that burden

here.
V.      DHS’s explanation is not pretextual.
         The States contend that the Secretary’s September Guidance must be set aside because the

explanation he gave for it is pretextual. They are wrong. The Secretary explained that 1) the agency

has inadequate resources to pursue every immigration offense, 2) it is accordingly necessary to

establish priorities to focus the agency’s efforts, and 3) focusing on national security, public safety,

and border security best advanced the national interest. He recognized that each case presented

different circumstances and that an individualized, case-by-case approach was best. He

emphasized that the Executive’s enforcement decisions needed to be guided by considerations not

just of public safety, but also of justice and humanitarian concerns. He set enforcement guidelines

accordingly. See Sept. Guidance at AR2, ECF No. 4-1, PAGEID 99.

         In Department of Commerce v. New York, the Supreme Court held that agency action must

be set aside when the reason the agency gives for taking agency action is wholly contrived. See

7
  The States also argue that they have suffered a procedural injury because DHS did not issue the September
Guidance following a notice-and-comment process. See Pls.’ Opp. at 31, ECF No. 34, PAGEID 901. But
for standing, a party cannot simply assert that it was deprived of a procedural right. It must also show that
the violation of that procedural right resulted in some concrete injury. See Summers v. Earth Island Inst.,
555 U.S. 488, 496 (2009) (“But deprivation of a procedural right without some concrete interest that is
affected by the deprivation—a procedural right in vacuo—is insufficient to create Article III standing.”).

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139 S. Ct. at 2576. The Supreme Court narrowly circumscribed this holding. A court “may not

reject an agency’s stated reasons for acting simply because the agency might also have had other

unstated reasons.” Id. at 2573. And a court “may not set aside an agency’s policymaking decision

solely because it might have been influenced by political considerations or prompted by an

Administration’s priorities.” Id. Rather, it is perfectly ordinary, and perfectly legitimate under the

APA, for agency decisions to be “informed by unstated considerations of politics, the legislative

process, public relations, interest group relations, foreign relations, and national security concerns

(among others).” Id. Under this standard, an agency’s decision can be set aside only when “the

sole stated reason” for the agency action is “contrived.” Id. at 2575.

       The States offer two reasons that they think the Secretary’s stated reasons were not genuine.

First, the States contend that DHS requested fewer resources for 2022, and so it cannot be that

limited resources were a reason for the priority scheme. See Pls.’ Opp. at 14, ECF No. 34, PAGEID

884. But the States do not contest that DHS in fact has limited resources, that DHS would have

limited resources irrespective of whether its budget request is adopted, and that, in the face of those

limited resources, DHS cannot pursue all immigration violators. There is no “mismatch” between

the Secretary’s reason—that limited resources mean DHS must choose, at some level, which

violations to pursue—and the Secretary’s action—establishing priorities to guide that choice.

       Second, the States contend that an unstated reason—“that ICE previously failed to focus

on dangerous aliens”—is not in fact true. Pls.’ Opp. at 14, ECF No. 34, PAGEID 884. The States

do not explain how an unstated reason could be pretextual—the premise of which is that the stated

reason is not the real one. But what the States really mean is that they disagree with the Secretary’s

implicit judgment that the previous policy should be changed. On that score, there is no question

that the Secretary’s action—changing the policy—aligns with the reason—he thought the policy

should be changed. Cf. FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“[An

agency] need not demonstrate to a court’s satisfaction that the reasons for the new policy

are better than the reasons for the old one; it suffices that the new policy is permissible under the

statute, that there are good reasons for it, and that the agency believes it to be better, which the

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conscious change of course adequately indicates.”); Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

State Farm Mut. Auto. Ins., Co., 463 U.S. 29, 59 (1983) (Rehnquist, J., concurring in part and

dissenting in part) (“A change in administration brought about by the people casting their votes is

a perfectly reasonable basis for an executive agency’s reappraisal of the costs and benefits of its

programs and regulations. As long as the agency remains within the bounds established by

Congress, it is entitled to assess administrative records and evaluate priorities in light of the

philosophy of the administration.”).

        In any event, the statistics the States cite do not paint the full picture. While it is true that

in 2020 “92 percent of interior removals had criminal charges,” U.S. Immigration and Customs

Enforcement Fiscal Year 2020 Enforcement and Removal Operations Report at 4 (“2020 ICE

Report”), https://perma.cc/WG7U-TUEQ, the four largest categories of criminal violation—each

constituting roughly the same proportion and cumulatively accounting for over half of all

violations—were for DUIs, drug offenses, immigration violations, and non-DUI traffic offenses.

And the evidence before the Secretary showed that by prioritizing aggravated felons, DHS was

indeed able to increase the number of actions taken against aggravated felons.8 See AART

Summary Data at AR108, ECF No. 27-15, PAGEID 537. The States dispute the lesson to be drawn

from this data by suggesting that the COVID-19 pandemic ended after 2020. Sadly, the pandemic

continues to severely hamper ICE operations and continues to endanger its workforce.

        The States have not come close to showing that the Secretary’s stated reasons—including

his reference to humanitarian concerns—were not genuine. At most (and even that is a stretch),

the States have alleged (not shown) that the Secretary also had some additional unstated reasons

for pursuing the guidance. But the Supreme Court left no ambiguity: “a court may not reject an

agency’s stated reasons for acting simply because the agency might also have had other unstated

8
 The States prefer an undefined “serious crimes” metric drawn from a blog post. Pls.’ Opp. at 15, ECF No.
34, PAGEID 885. But the States ignore the lesson that the data from the Interim Guidance teaches:
prioritization works. The Secretary abandoned the “aggravated felony” category in the September Guidance
because he determined it did not adequately align with public safety, and instead directed ICE to focus on
public safety broadly defined, taking into account (among other things) the seriousness of the offense. See
Considerations Memo at AR12, ECF No. 27-2, PAGEID 454.

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reasons.” Dep’t of Com., 139 S. Ct. at 2573. The Court should dismiss the States’ claim that the

September Guidance rests on a pretextual explanation.
VI. The Secretary considered the relevant factors and adequately explained his decision.
       Likewise, the States’ efforts to argue that DHS did not give due consideration to “important

aspects” of immigration enforcement is belied by the record. Contra Pls.’ Opp. at 16-21, ECF No.

34, PAGEID 886-91. Just because the States do not agree with DHS’s conclusions does not mean

that DHS did not consider relevant factors in devising guidance that balances public safety,

resource limitations, and the need to operate in a fair and just manner. Rather, as the Supreme

Court just reaffirmed last month, “the role of courts in reviewing arbitrary and capricious

challenges is to ‘simply ensur[e] that the agency has acted within a zone of reasonableness.’” Biden

v. Missouri, 142 S. Ct. 647, 654 (2022) (quoting FCC v. Prometheus Radio Project, 141 S. Ct.

1150, 1158 (2021)). Courts must especially defer to agency actions that “call[] for value-laden

decisionmaking and the weighing of incommensurables under conditions of uncertainty.” Dep’t of

Com., 139 S. Ct. at 2571; id. at 2570 (“the choice between reasonable policy alternatives in the

face of uncertainty [is] the Secretary’s to make”). Here, there can be no dispute that DHS acted

within a zone of reasonableness in issuing enforcement guidance that undoubtedly require value-

laden decisionmaking and the weighing of incommensurables. A plaintiff’s dispute with an

underlying policy does not make an agency action arbitrary and capricious. See Marsh v. Or. Nat.

Res. Council, 490 U.S. 360, 378 (1989) (quoting Citizens to Pres. Overton Park, Inc. v. Volpe, 401

U.S. 402, 416 (1971)) (“the reviewing court must consider whether the decision was based on a

consideration of the relevant factors and whether there has been a clear error of judgment”).

       As the States acknowledge, Defendants explained the considerations underlying the

guidance in a lengthy memorandum. See Pls.’ Opp. at 16-21, ECF No. 34, PAGEID 886-91 (citing

Considerations Memo). But instead of accepting the reality that Defendants engaged with a variety

of topics, Plaintiffs try at a series of pin pricks on the points where they disagree. That is not how

the APA works. Rather, as long DHS “examine[d] the relevant data and articulate[d] a satisfactory

explanation for its action,” including a “rational connection between the facts found and the choice

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made,” then any arbitrary and capricious claim must be rejected. State Farm Mut. Auto. Ins. Co.,

463 U.S. at 43 (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). DHS

did so here. But, regardless, Plaintiffs’ needling does not break the skin.

       First, the States argue that Defendants did not consider the question of recidivism. See Pls.’

Opp. at 17-18, ECF No. 34, PAGEID 887-88. But they then acknowledge that the Considerations

Memo is replete with discussion of recidivism. Id.; see also Defs.’ Mem. at 36-37, ECF No. 29,

PAGEID 726-27 (identifying DHS’s discussion of recidivism). The States’ complaint is simply

that it does not agree with the way DHS addressed this factor, not that DHS did not address it.

Compare Considerations Memo at AR13, ECF No. 27-2, PAGEID 455 (noting that “the United

States Sentencing Commission [] demonstrates that reconviction rates drop off significantly for

individuals who are crime-free for 5 years post-release, those sentenced to 6 months or less of

imprisonment, and those who were 40 or older when released”), with Pls.’ Opp. at 17, ECF No.

34, PAGEID 887 (relying on a 1986 study to suggest that the risk of recidivism is high for all

criminal immigrants). The States make no quarrel with DHS’s determination that “[w]here status

information has been made available—including in the state of Texas itself—the evidence

indicates that undocumented noncitizens are less likely to recidivate,” Considerations Memo at

AR13, ECF No. 27-2, PAGEID 455, or that addressing recidivism in the context of public safety

requires asking about the nature of the crime that might be repeated, id. (“it is a mistake to assume

that the threat that an individual poses to public safety can be reduced to simply the question of

whether the individual is likely to recidivate”). Given this discussion on recidivism, the States’

argument that DHS did not consider recidivism is simply not true, and that the States might have

resolved these issues differently is of no legal import. See Dep’t of Com., 139 S. Ct. at 2569 (“We

may not substitute our judgment for that of the Secretary, but instead must confine ourselves to

ensuring that he remained within the bounds of reasoned decisionmaking.” (citations and quotation

marks omitted)).

       Second, the States claim that DHS has failed to consider the effect, including on resources,

of lodging fewer detainers. See Pls.’ Opp. at 18-19, ECF No. 34, PAGEID 888-89. But, again, this

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is a policy debate, not an argument that the Secretary’s guidance is arbitrary and capricious.

Nothing in the Secretary’s guidance prevents the lodging of detainers, although detainers will

presumably now be lodged consistent with the enforcement priorities. DHS expressly considered

whether such an approach would increase costs over time, and found the contention unpersuasive.

See Considerations Memo at AR17, ECF No. 27-2, PAGEID 459. Citing the Fifth Circuit’s

unanimous panel decision staying the preliminary injunction of the Interim Guidance, DHS had

noted its long-recognized discretion to “cancel a detainer and choose not to pursue removal of such

an individual in the first place.” Id. at AR18, PAGEID 460. And, DHS concluded, “the

Department’s overall safety and security mission is not best served by simply pursuing the greatest

overall number of enforcement actions but is rather best advanced by directing resources to

prioritize enforcement against those noncitizens who most threaten the safety and security of the

Nation.” Id. at AR17, PAGEID 459. To achieve this end, the Secretary decided that a totality of

circumstances approach is best. See Sept. Guidance, ECF No. 4-1, PAGEID 98.

       Third, in the context of whether DHS properly considered the impact of its policy on the

States, the States again confuse their disagreement with the Secretary’s policy judgment with a

failure to consider a factor. See Pls.’ Opp. at 19-20, ECF No. 34, PAGEID 889-90; cf. State Farm

Mut. Auto. Ins. Co., 463 U.S. at 43. There can be no dispute that DHS considered the impact on

the States after devoting several pages on that topic in the Considerations Memo. See

Considerations Memo at AR14-17, ECF No. 27-2, PAGEID 456-59. The States’ first argument

takes the form of a rhetorical question indicating that they cannot conceive how it is possible that

the September Guidance might be beneficial to the states: “How?” See Pls.’ Opp. at 20, ECF No.

34, PAGEID 890. DHS answered that question in its Consideration Memo. For example, it noted

that “the Department heard from multiple stakeholder engagements, including with law

enforcement partners and local government officials, a civil immigration enforcement framework

that lacks clear priorities is likely to increase fear and sow mistrust between noncitizens and

government,” and that “[s]uch an environment can breed ‘hesitancy in accessing services, relief,

and even vaccines during the COVID-19 pandemic.’” Considerations Memo at AR16, ECF No.

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27-2, PAGEID 458 (quoting E-mail from Nora Preciado, Director, Immigrant Affairs, to Kamal

Essaheb, Counselor to the Secretary, DHS (Sept. 23, 2021, 05:42), AR_DHSP_00002324).

Further, DHS noted, “states and localities benefit from civil immigration enforcement policies that

are more likely to lead to the arrest and removal of individuals who are threats to public safety.”

Id. The States also deride DHS’s observation that its obligation to “the national interest” would

outweigh any marginal and difficult-to-quantify harm to the States, Pls.’ Opp. at 20, ECF No. 34,

PAGEID 890, but, again, this is simply a policy disagreement, not a basis to set aside the

Secretary’s considered judgment, see Considerations Memo at AR16, ECF No. 27-2, PAGEID

458; cf. Dep’t of Com., 139 S. Ct. at 2571 (“And the evidence before the Secretary hardly led

ineluctably to just one reasonable course of action. It called for value-laden decisionmaking and

the weighing of incommensurables under conditions of uncertainty. The Secretary was required to

consider the evidence and give reasons for his chosen course of action. He did so. It is not for us

to ask whether his decision was ‘the best one possible’ or even whether it was ‘better than the

alternatives.’” (quoting FERC v. Electric Power Supply Ass’n, 577 U.S. 260, 292 (2016)).

       Finally, the States claim that DHS’s action is arbitrary and capricious because it prioritized

national security but did not prioritize what the States claim is otherwise statutorily mandated. See

Pls Opp. at 21, ECF No. 34, PAGEID 891. But that is just a repackaging of their statutory

arguments. As Defendants have explained, the States’ statutory arguments are incorrect and DHS

should be given discretion in its “value-laden decisionmaking” and its “weighing of

incommensurables” in light of its limited resources. Dep’t of Com., 139 S. Ct. at 2571. This Court

should reject the States’ arbitrary and capricious argument as nothing more than a policy dispute,

and enter judgment for Defendants on that claim.
VII. Enforcement priorities do not require notice-and-comment.
       The States argue that law enforcement agencies must undergo notice-and-comment

procedures each time they issue internal guidance on how to exercise prosecutorial discretion. The

Court should reject this contention. Indeed, “general statements of policy,” 5 U.S.C. § 553(b)(A),

which “advise the public prospectively of the manner in which the agency proposes to exercise a

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discretionary power,” Lincoln, 508 U.S. at 197 (quoting Chrysler Corp. v. Brown, 441 U.S. 281,

302 n.31 (1979)), are exempt from notice and comment. An agency is not required to use such

procedures when changing its general enforcement policies because to do so would hamper the

exercise of the agency’s discretion and prevent it from responding to changing circumstances. See

1 Richard J. Pierce, Jr., Administrative Law Treatise § 6.3, at 424-25 (5th ed. 2010) (Pierce).

Prohibiting senior officials from announcing policies that guide rank-and-file agents, without first

following notice-and-comment procedures, also “would create horrible incentives.” Id. at 424 (“If

agencies are allowed to establish policies that limit the discretion of their employees only through

use of the expensive and time-consuming notice and comment procedure, they rarely will choose

to limit the discretion of their employees charged with enforcement and prosecutorial

responsibilities.”). But that is essentially what Plaintiffs are seeking in this case.

        In particular, the States argue that the September Guidance is a legislative rule because

noncitizens who do not pose a public safety risk are not considered priorities for enforcement. See

Pls.’ Opp. at 21-22, ECF No. 34, PAGEID 891-92. But providing guidance on enforcement that

leaves the ultimate decision to a line officer’s individualized discretion is not “binding” so as to

require notice and comment. The September Guidance “does not compel an action to be taken or

not taken,” but “[i]nstead . . . leaves the exercise of prosecutorial discretion to the judgment of

[DHS] personnel.” Sept. Guidance at AR5, ECF No. 4-1, PAGEID 102. Rather, the Secretary

instructed personnel to “evaluate the individual and the totality of the facts and circumstances and

exercise their judgment accordingly.” Id. at AR4, PAGEID 101. Indeed, under the Interim

Guidance, which relied on bright line categorizations rather than a totality of circumstances

approach contained in the September Guidance, 90% of requests for “other priority” enforcement

actions were approved, and they made up the second largest category of enforcement actions. See

AART Summary Data at AR108, 110, ECF No. 27-15, PAGEID 537, 539. Establishing

enforcement priorities does not create legally enforceable rights or obligations, see Perez v. Mortg.

Bankers Ass’n, 575 U.S. 92, 96 (2015), and thus is exempt from notice-and-comment.



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       The States contest the enforcement guidance’s status as a general statement of policy with

two additional arguments. First, they argue that the September Guidance violate 8 U.S.C. §§ 1226

and 1231, and therefore changes legal rights. See Pls.’ Opp. at 22, 24. But this repackaging of their

statutory arguments misses the mark, and not just because it is wrong. See supra part II; see also

Considerations Memo at AR18-19, ECF No. 27-2, PAGEID 460-61 (explaining how DHS’s

“updated Guidelines for the Enforcement of Civil Immigration Law are fully consistent with [the]

constraints [8 U.S.C. §§ 1226 and 1231] and do not purport to override them”). DHS has always

had to prioritize its enforcement actions, and DHS employees have always had to execute their

duties consistent with, and subject to, instructions from superiors.

       Second, the States try to rely on quotations pulled from a newspaper article to argue that

some of the organizations that disagree with the policy DHS adopted also disagreed with a given

description of the agency’s outreach to outside groups. See Pls.’ Opp. at 22-23, ECF No. 34,

PAGEID 892-93. But, “[a]bsent clear evidence to the contrary, the reviewing court assumes the

agency has properly designated the administrative record.” Sherwood v. Tenn. Valley Auth., 590

F. App’x 451, 459–60 (6th Cir. 2014) (citing Bar MK Ranches v. Yuetter, 994 F.2d 735, 740 (10th

Cir. 1993) (“the designation of the Administrative Record, like any established administrative

procedure, is entitled to a presumption of administrative regularity”)). Nor does the news article

actually appear to contradict the administrative record. The article specifically recounts a “July 8

meeting” that the outside group attended and reports only that the discussion of enforcement

priorities was limited and that a lengthier discussion was deferred indefinitely. ECF 34-1, Exhibit

T, at 2, PAGEID 920. One group “confirmed an April meeting” but asserts that there was “no give

and take” in discussing the enforcement priorities, and another asserts that the discussion was

focused on the border, but that the Secretary had not considered a document they separately

submitted. Id. If the Secretary did not consider the document, it was properly excluded from the

administrative record. And the same administrative record reflects sheriffs groups’ suggestion

“that ICE should expand enforcement, particularly along the border” and “implement a kind of

arrest quota.” Stakeholder Outreach Mem. at AR92, ECF No. 27-11, PAGEID 521. Regardless,

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Defendants’ outreach merely goes to robustness of the administrative record, not the notice-and-

comment claim. Defendants are not arguing that its outreach to disparate groups is in lieu of notice

and comment, given that the Secretary’s general statement of policy is not subject to notice-and-

comment requirements at all.

       This Court should also give no credence to the States’ critiques of Defendants’ arguments

that, in the alternative to being a general statement of policy, the Secretary’s guidance is a

procedural rule exempt from notice and comment. For this argument, Plaintiffs merely regurgitate

their argument as to standing, that the guidance will have downstream effects on the States. See

Pls.’ Opp. at 23, ECF No. 34, PAGEID 893. But downstream effects of procedural rules or rules

of agency organization do not change their fundamental character. As the D.C. Circuit has noted,

“[o]f course[] procedure impacts on outcomes and thus can virtually always be described as

affecting substance, but to pursue that line of analysis results in the obliteration of the distinction

that Congress demanded.” JEM Broad. Co. v. FCC, 22 F.3d 320, 326–27 (D.C. Cir. 1994) (citation

omitted). The September Guidance does not alter the rights of regulated entities, and so was at

most procedural rule not subject to notice and comment. See RSM, Inc. v. Buckles, 254 F.3d 61,

69 (4th Cir. 2001) (agency “need not engage in notice-and-comment-rulemaking each time it

delegates authority within its own ranks”); Am. Hosp. Ass'n v. Bowen, 834 F.2d 1037, 1050 (D.C.

Cir. 1987) (collecting cases rejecting notice-and-comment challenges to enforcement policies).

This Court should enter judgment for Defendants on the States’ notice-and-comment claim.
VIII. There is no valid claim under the Take Care Clause.
       The September Guidance sets out enforcement priorities so that DHS can best discharge

its immigration enforcement mission. It reiterates the agency’s commitment to enforcing the

immigration laws. What it certainly does not do is violate the Take Care Clause.

       The States raise this claim as an APA claim, and so it fails for the same reason their other

APA claims are not reviewable. Their contention, in any event, is simply a rehash of their argument

that the September Guidance is contrary to law. But the Supreme Court has rejected the viability

of such claims, holding that “claims simply alleging that the President has exceeded his statutory

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authority are not ‘constitutional’ claims.” Dalton v. Spencer, 511 U.S. 462, 473 (1994); see also

Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 499 (1866) (Take Care Clause “is purely executive

and political” and not subject to judicial direction). The States do not dispute these precedents, but

seek to distinguish them on the ground that they did not involve subordinate officials—no wonder,

as the Take Care Clause is directed at the President—and because once, five years ago, the

Supreme Court sought briefing on the question (but never reached it). This Court is bound by

decisions of the Supreme Court, not the tea leaves of requests for briefing. The Court should

dismiss the States’ Take Care Clause claim.
IX. Remand without vacatur would be the appropriate remedy.
        If the Court determines that the September Guidance does not comply with the strictures

of the APA, it should remand without vacatur. That is the appropriate course when the agency can

cure the error and vacatur would be disruptive. See, e.g., Ctr. for Biological Diversity v. U.S. Forest

Serv., No. 2:17-cv-372, 2021 WL 855938, at *1-4 (S.D. Ohio Mar. 8, 2021).9 Setting aside the

Secretary’s enforcement guidance would cause confusion for DHS officials and would undermine

the Secretary’s efforts to promote the national interest and protect public safety. See Defs.’ Mem.

at 43-45, ECF No. 29, PAGEID 733-35; see also Decker Decl. ¶¶ 12-13 (AR5785), ECF No. 27-

30, PAGEID 592; Berg Decl. ¶ 20 (AR6037), ECF No. 27-31, PAGEID 602.

                                           CONCLUSION

        For the reasons stated herein and in Defendants’ earlier briefing, the States’ motion for a

preliminary injunction should be denied, and the Court should dismiss the Complaint or, in the

alternative, grant judgment to Defendants. If the Court does issue an injunction, it should stay its

order for 30 days to permit Defendants to seek appellate relief.




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  Because remand without vacatur is the most relief the States would be entitled to on final judgment, a
preliminary injunction would be unwarranted. See De Beers Consol. Mines v. United States, 325 U.S. 212,
220 (1945) (preliminary relief must be “of the same character as that which may be granted finally”); see
also Smith v. City of Hammond, Indiana, 388 F.3d 304, 307 (7th Cir. 2004) (preliminary relief is “merely
a way station to final relief”).

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Dated: February 1, 2022              Respectfully submitted,

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                               CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on February 1, 2022.


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